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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

In Re: KATRINA CANAL BREACHES             §             CIVIL ACTION
       CONSOLIDATED LITIGATION            §             NO. 06-4024 “K” (2)
                                          §             JUDGE DUVAL
__________________________________________§             MAG. WILKINSON
                                          §
PERTAINS TO: Responder, Levee and MRGO,   §
              O’Dwyer, No. 06-4024        §
__________________________________________§



              DEFENDANT UNITED STATES’ MOTION TO DISMISS

       Pursuant to Rule 12(b)(1) and 12(h)(3), Fed. R. Civ. P., the United States moves to

dismiss this action for lack of subject-matter jurisdiction. In support of this motion, the

Court is respectfully




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referred to the United States’ Memorandum of Law in support of this motion, the

Exhibits submitted herewith, and the entire record.

                                        Respectfully submitted,


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                                        Assistant Attorney General

                                        C. FREDERICK BECKNER III
                                        Deputy Assistant Attorney General

                                        PHYLLIS J. PYLES
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October 23, 2006




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                                CERTIFICATE OF SERVICE

       I, James F. McConnon, Jr., hereby certify that on October 23, 2006, I served a true copy
of "United States' Motion to Dismiss" upon all counsel of record by ECF, electronic mail, or first
class mail.


                              /s/ James F. McConnon, Jr.
                                     James F. McConnon, Jr.




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